           Case 1:21-cr-00577-CJN Document 1 Filed 09/14/21 Page 1 of 12




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :       CRIMINAL NO.
                                               :
                                               :
              v.                               :
                                               :       VIOLATIONS:
                                               :
                                               :       18 U.S.C. § 371
                                               :       (Conspiracy)
                                               :
MARC BAIER,                                    :       22 U.S.C. § 2778
                                               :       (Arms Export Control Act)
RYAN ADAMS, and                                :
                                               :        22 C.F.R. Parts 120-130
DANIEL GERICKE                                 :       (International Traffic in Arms
                                               :       Regulations)
      Defendants.                              :
                                               :       18 U.S.C. § 1030
                                               :       (Fraud and Related Activity in
                                               :       Connection with Computers)
                                               :
                                               :       18 U.S.C. § 1029
                                               :       (Access Device Fraud)
                                               :


                                        INFORMATION

      The United States charges that:

                               COUNT ONE
               CONSPIRACY TO VIOLATE THE AECA AND THE ITAR
                              (18 U.S.C. § 371)

      At all times material to this Information:

      1.      Beginning in or around December 2015 and continuing through in or around

November 2019, in the District of Columbia and elsewhere, defendants MARC BAIER, RYAN

ADAMS, and DANIEL GERICKE, together with others known and unknown to the United States,




                                                   1
            Case 1:21-cr-00577-CJN Document 1 Filed 09/14/21 Page 2 of 12




did knowingly and willfully combine, conspire, confederate, and agree with each other to commit

offenses against the United States, that is:

       (a)       to furnish defense services to persons and entities in the United Arab Emirates

       (“U.A.E.”), and,

       (b)       to attempt, solicit, cause, and aid, abet, counsel, demand, induce, procure, and

       permit:

                 (i) the furnishing of defense services to persons and entities in the U.A.E.;

                 (ii) the reexport and retransfer of defense services and technical data to persons and

                 entities in the U.A.E.; and

                 (iii) information and material protected under a January 27, 2014 Technical

                 Assistance Agreement (“TAA”) issued by the United States Department of State’s

                 Directorate of Defense Trade Controls (“DDTC”) to U.S. COMPANY ONE to be

                 provided to persons who were not authorized under the TAA to receive that

                 information and material;

all without having first obtained the required licenses and permissions from DDTC, located in the

District of Columbia, in violation of 22 U.S.C. § 2778 (“AECA”), and 22 C.F.R. Parts 120-130

(“ITAR”), in violation of 18 U.S.C. § 371.

       2.        The conduct alleged in this Count occurred within the District of Columbia and

elsewhere, and is therefore within the venue of the United States District Court for the District of

Columbia pursuant to 18 U.S.C. § 3237(a).

                                      Goals of the Conspiracy

       3.        The goals of the conspiracy were to have and cause U.S. persons to furnish

regulated defense services to U.A.E. CO (a privately company headquartered and organized in the



                                                   2
            Case 1:21-cr-00577-CJN Document 1 Filed 09/14/21 Page 3 of 12




U.A.E.) and U.A.E. government entities, without a license from DDTC; to acquire information

and material that was protected and governed by U.S. COMPANY ONE’s TAA with DDTC; to

acquire sophisticated goods and services from United States companies and to create defense

articles that would be used in Computer Network Exploitation (“CNE”) Operations and related

activities emanating from the U.A.E.; to furnish assistance to U.A.E. persons and entities in

connection with defense articles so created; to make a financial profit; and to deliver sophisticated

hacking technology to U.A.E. CO and the U.A.E. government, in support of CNE Operations and

related activities for intelligence gathering; all while evading the export control supervision of the

United States government.

                             Manner and Means of the Conspiracy

       4.      The manner and means by which defendants sought to accomplish the objects and

goals of the conspiracy included the following:

       A.      Defendants began planning and acting outside of the United States to have U.S.

               persons furnish defense services (e.g., CNE Operations and related activities) to

               U.A.E. CO and the U.A.E. government.

       B.      Defendants caused and attempted to cause U.S. persons to furnish defense services

               to non-United States entities and persons in the U.A.E. and elsewhere without

               obtaining valid licenses from DDTC, which is located in the District of Columbia.

       C.      Defendants ignored and violated conditions placed on U.S. COMPANY ONE’s

               TAA by knowingly obtaining and causing others to illegally obtain and disclose

               controlled information and material without prior approval from the United States

               Government, where U.A.E. CO was a competitor of U.S. COMPANY ONE for the

               provision of cyber services to the U.A.E government.



                                                  3
     Case 1:21-cr-00577-CJN Document 1 Filed 09/14/21 Page 4 of 12




D.      Defendants used companies outside of the U.A.E. to solicit purchase orders for

        U.S.-origin goods from companies located in the United States on behalf of o

        U.A.E. CO.

E.      Defendants modified computer exploits and material in the U.A.E. into advanced

        covert hacking systems for U.A.E. government agencies, which defendants

        operated from the U.A.E.

F.      Defendants used illicit, fraudulent, and criminal means, including the use of

        advanced covert hacking systems that utilized computer exploits obtained from the

        United States and elsewhere, to gain unauthorized access to protected computers in

        the United States and elsewhere and to illicitly obtain information, material,

        documents, records, data and personal identifying information, including

        passwords, access devices, login credentials and authentication tokens, from

        victims from around the world.

G.      Defendants fraudulently obtained, used, and possessed access devices,

        authentication tokens, passwords, and other means of accessing without

        authorization, to gain access to those protected computers located in the United

        States and elsewhere.

H.      Defendants were paid in the U.A.E. by the U.A.E. government (through U.A.E. CO

        and its affiliates) for defense services rendered by U.S. persons.

I.      Defendants caused international monetary instruments to be sent from outside the

        United States, to the United States, to pay for U.S.-origin goods that were purchased

        to facilitate the provision of regulated defense services in the U.A.E.




                                          4
            Case 1:21-cr-00577-CJN Document 1 Filed 09/14/21 Page 5 of 12




                                            Overt Acts

       5.      In furtherance of this conspiracy, and to accomplish its goals and objects, at least

one of the conspirators committed or caused to be committed, in the District of Columbia, and

elsewhere, at least one of the following overt acts, among others:

            Violations of U.S. COMPANY ONE’s TAA

       $      In or around October 2015, U.A.E. CO offered employment contracts to several

               U.S. COMPANY ONE employees, including defendants BAIER, ADAMS and

               GERICKE, to leave U.S. COMPANY ONE and to join U.A.E. CO. (and, among

               other things, to work with a group within U.A.E. CO called Cyber Intelligence-

               Operations (“CIO”)) with significant increases in their salaries.

       %      Between in or around December 2015 and Ln or DURXQG February 15,

               2016, defendants BAIER, ADAMS, and GERICKE, who were then employed by

               U.A.E.CO, attempted, and did cause, U.S. COMPANY ONE’s employees to

               provide TAA-restricted information to defendants BAIER, ADAMS, and

               GERICKE, in violation of the conditions and terms of U.S. COMPANY ONE’s

               TAA, withoutnecessary preapproval from the United States government.

            Provision of Defense Services

       C.      Between in or around January 2016 and in or around May 2016, defendant BAIER

               obtained an agreement from U.S. COMPANY FOUR in the United States to

               provide EXPLOIT ONE (an exploit which provided “zero-click” remote access to

               smartphones and mobile devices using certain versions of U.S. COMPANY TWO’s

               operating system) and other computer exploits to U.A.E. CO in exchange for




                                                 5
     Case 1:21-cr-00577-CJN Document 1 Filed 09/14/21 Page 6 of 12




        approximately $750,000, and thereafter caused U.A.E. CO to send approximately

        $1,300,000 via wire transfers from a company controlled by U.A.E. CO.

'      Starting in or around May 2016, using EXPLOIT ONE, defendants BAIER,

        ADAMS, GERICKE, designed, implemented, modified, and used a remote

        computer exploitation system for foreign intelligence gathering purposes, known

        as KARMA, that was fully integrated into CIO’s computer infrastructure to further

        CIO’s CNE Operations and related activities.

(      In or around September 2016 (after U.S. COMPANY TWO’s new operating system

        patched the vulnerability being exploited by EXPLOIT ONE and the KARMA

        system), defendant BAIER contacted U.S. COMPANY FIVE, which was located

        in the United States, to obtain EXPLOIT TWO, another exploit that utilized a

        different vulnerability in the U.S. COMPANY TWO’s operating system.

)      Between in or around September 2016 and in or around January 2017, defendant

        BAIER caused U.A.E. CO to send over $1,300,000 via wire transfers from a

        company controlled by U.A.E. CO to U.S. COMPANY FIVE located in the United

        States. These payments were for the purchase of EXPLOIT TWO and another

        computer exploit.

*      Between Ln or around September 2016 and in or around January 2019, using

        EXPLOIT TWO, defendants BAIER, ADAMS, and GERICKE designed,

        implemented, modified, and used KARMA 2, a remote computer exploitation

        system for foreign intelligence gathering purposes known as KARMA 2, which was

        fully integrated into CIO’s computer infrastructure to further CIO’s CNE

        Operations and related activities.



                                             6
            Case 1:21-cr-00577-CJN Document 1 Filed 09/14/21 Page 7 of 12




       H.      Between in or around December 2015 and in or around July 2019, defendants

               BAIER, ADAMS and GERICKE purchased and obtained numerous proprietary

               computer exploits from companies around the world to be deployed against

               computers (e.g., smartphones) using U.S. companies’ software, services, and

               internet browsers.

       I.      Between in or around October 2015 and the present day, none of the defendants

               applied to DDTC, located in the District of Columbia, for a license, or a TAA, to

               provide defense services to U.A.E. CO, the U.A.E. government, or to any other

               foreign person or country, despite the fact that the conduct described above in

               paragraphs D-H constituted a defense service for which a license was required

               under the ITAR and USML Category XI(b) and (d).

       (Conspiracy to Violate the AECA and the ITAR, in violation of Title 18, United States
       Code, Section 371)


                                 COUNT TWO
                 CONSPIRACY TO COMMIT ACCESS DEVICE FRAUD
                      AND COMPUTER HACKING OFFENSES
                                (18 U.S.C. § 371)

       6.      Paragraphs 1 through 5 are re-alleged here.

       7.      Beginning in or around December 2015 and continuing through in or around

November 2019, beginning outside of the jurisdiction of any particular State or district and later

occurring within the District of Columbia and elsewhere, and therefore, pursuant to 18 U.S.C. §§

3237(a) and 3238, within the venue of the United States District Court for the District of Columbia,

defendants BAIER, ADAMS, and GERICKE, together with others known and unknown to the

United States, did knowingly and willfully combine, conspire, confederate, and agree with each

other to commit the following offenses against the United States:

                                                 7
            Case 1:21-cr-00577-CJN Document 1 Filed 09/14/21 Page 8 of 12




       (a)     For purposes of private financial gain, and in furtherance of a criminal and tortious

               act in violation of the Constitution and the laws of the United States, that is, (i)

               access device fraud, in violation of 18 U.S.C. §1029(a)(2), and (ii) the provision of

               defense services without a license, in violation of 22 U.S.C. § 2778, intentionally

               access, and attempt to access, computers without authorization, and thereby obtain,

               and attempt to obtain, information from protected computers, in violation of 18

               U.S.C. §1030(a)(2) and (c)(2)(B)(i) and (ii);

       (b)     Knowingly cause, and attempt to cause, the transmission of a program, information,

               code, computer exploits, and commands, and as a result of such conduct,

               intentionally cause, or attempt to cause, damage without authorization to 10 or more

               protected computers during a one-year period, in violation of 18 U.S.C.

               §1030(a)(5)(A) and (c)(4)(B);

       (c)     Knowingly, and with intent to defraud, use one or more unauthorized access

               devices during any one-year period, and by such conduct obtain a thing of value in

               excess of $1,000, in violation of 18 U.S.C. § 1029(a)(2), and (c)(1)(A)(i); and

       (d)     Knowingly, and with intent to defraud, possess fifteen or more unauthorized access

               devices, in violation of 18 U.S.C. §1029(a)(3) and (c)(1)(A)(i).

                                    Goals of the Conspiracy

       8.      The goals of the conspiracy were to obtain financial profit and personal

compensation, and other private gain for defendants BAIER, ADAMS, and GERICKE; create,

operate, and maintain electronic systems specially designed for CNE Operations and related

activities; obtain computer infrastructure (e.g., online accounts, servers, and anonymizing

services) for purposes of CNE Operations and related activities; illicitly, through CNE Operations



                                                 8
            Case 1:21-cr-00577-CJN Document 1 Filed 09/14/21 Page 9 of 12




and other means, acquire data, information, and material from persons and organizations for

provision to, and use by, U.A.E. CO; to acquire sophisticated goods and services from companies

inside and outside the United States in furtherance of CNE Operations and related activities; to

evade and avoid detection by foreign countries, providers of compromised devices and software

(including U.S. companies); to utilize computers, servers, and infrastructure around the world,

including in the United States, to facilitate CNE Operations; and to hire and acquire personnel

highly skilled and trained in CNE Operations and related activities.

                            Manners and Means of the Conspiracy

       9.      In addition to the manner and means alleged in Paragraph 4, the manner and means

by which defendants sought to accomplish the objects of the conspiracy included the following:

            A. Defendants provided CNE Operations and related activities for U.A.E. CO;

            B. Defendants established, operated, maintained, and expanded CIO into a multi-

               faceted and a sophisticated computer hacking organization, by: (i) hiring skilled

               U.S. person and other non-Emirati employees with technical expertise;

               (ii) obtaining, developing, modifying, and using computer exploits, malware, proxy

               servers, and other computer hacking tools and infrastructure on behalf of CIO; and

               (iii) obtaining, developing, modifying, maintaining and using internet and computer

               infrastructure on behalf of CIO;

            C. Defendants obtained, developed, modified, maintained, and used electronic

               systems designed for intelligence purposes, to collect information without

               authorization from internet-connected computers, databases, and electronic

               systems in the United States and elsewhere;




                                                  9
         Case 1:21-cr-00577-CJN Document 1 Filed 09/14/21 Page 10 of 12




             D. Defendants led, managed, conducted, supported, and abetted CIO’s CNE

                Operations and related activities;

             E. Defendants damaged protected computers, including protected computers located

                in the United States and elsewhere, without authorization through exploits and

                malicious agents or implants which provided unauthorized access to said

                computers;

             F. Defendants stole and fraudulently obtained, used, and trafficked in access devices,

                authentication tokens, passwords, and other means of accessing without

                authorization protected computers, including protected computers located in the

                United States and elsewhere, belonging to individual account and computer owners,

                for the purpose of committing additional CIO CNE Operations and related activities

                through the fraudulent use of said access devices, authentication tokens, and

                passwords; and

             G. Defendants obtained information of value that belonged to the owners and users of

                the protected computers, including protected computers located in the United States

                and elsewhere, such as personal and user data, communications, access devices,

                authentication tokens, and passwords.

                                            Overt Acts

       10.      In addition to the acts alleged in Paragraph 5, which are re-alleged here, and in

furtherance of the conspiracy, and to accomplish its goals and objects, at least one of the

conspirators committed or caused to be committed, in the District of Columbia and elsewhere, at

least one of the following overt acts, among others:




                                                 10
 Case 1:21-cr-00577-CJN Document 1 Filed 09/14/21 Page 11 of 12




   A. Between in or around January 2016 and in or around August 2019, defendants

      BAIER, ADAMS, and GERICKE used stolen login credentials and other

      authentication tokens to obtain personal and private data from protected computers,

      including data held on U.S. COMPANY TWO and U.S. COMPANY THREE

      computers in the United States.

   B. Between in or around January 2016 and in or around November 2019, defendants

      BAIER, ADAMS, and GERICKE purchased and used anonymization services and

      related equipment from a company in the United States for the purpose of hiding

      CIO’s CNE activities.

   C. Between in or around January 2016 and in or around November 2019, defendants

      BAIER, ADAMS, and GERICKE created and used accounts from numerous U.S.

      companies (including U.S. COMPANY TWO and U.S. COMPANY THREE) to

      conduct CNE operations and transmit programs such as KARMA and KARMA 2.

(Conspiracy to Commit Access Device Fraud and Computer Hacking Offenses, in
violation of Title 18, United States Code, Section 371)




                                        11
       Case 1:21-cr-00577-CJN Document 1 Filed 09/14/21 Page 12 of 12




                          Respectfully Submitted,


                          CHANNING D. PHILLIPS
                          ACTING UNITED STATES ATTORNEY
                          FOR THE DISTRICT OF COLUMBIA



       9/14/2021                _____________________
                          By: ___________________________________
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                                      12
